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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

    SYMBOLOGY INNOVATIONS, LLC                     §
                                                   §
           Plaintiff,                              §       CIVIL ACTION NO.
                                                   §     6:16-cv-02200- PGB-KRS
    v.                                             §    JURY TRIAL DEMANDED
                                                   §
    HILTON WORLDWIDE, INC.                         §           LEAD CASE:
                                                   §     6:16-cv-02197-PGB-KRS
                                                   §
           Defendant.                              §

                          NOTICE OF VOLUNTARY DISMISSAL

           Pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i), Plaintiff Symbology Innovations, LLC

    hereby dismisses all claims against Defendant Hilton Worldwide, Inc. (and Hilton

    Worldwide Holdings, Inc.), WITH PREJUDICE, with each party to bear its own costs,

    expenses and attorney’s fees.

    RESPECTFULLY SUBMITTED.



    Dated: May 16, 2017                         Respectfully Submitted,

                                                By: /s/Sonia Colon
                                                Sonia Colon
                                                USDC No. 0050475
                                                Ferraiuoli LLC
                                                Bank of America Bldg.
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                                                ATTORNEYS FOR PLAINTIFF
                                                Symbology Innovations, LLC
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERIFY that on the 16th day of May, 2017, I electronically filed the

    foregoing with the Clerk of the Court using the CM/ECF system, which will send a

    Notice of Electronic Filing to all counsel of record.

                                                      /s/ Sonia Colon
                                                      Sonia Colon




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